IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

KILMAR ARMANDO .
ABREGO GARCIA, et al., *
Plaintiffs, *
Civil Action No. 8:25-cv-00951-PX
v. *
KRISTI NOEM, Secretary, — *
United States Department *
of Homeland Security, et al., *
Defendants.
*
KEK
ORDER

The one-week stay of discovery entered on April 23, 2025, expires today at 5:00 PM. In
advance of that deadline and following the Court’s denial of Defendants’ Motion to Stay
Discovery, ECF Nos. 104 & 106, the Court sets forth the following revised schedule for

expedited discovery.

1. Byno later than Friday, May 2, 2025, Plaintiffs must narrow Interrogatories 9-11
and RPDs 6-8 consistent with the Court’s Order at ECF No. 100.

2. Defendants shall answer and respond to all outstanding discovery requests and
supplement their invocation of privilege(s), consistent with the Court’s Order at ECF
No. 100, by no later than Monday, May 5, 2025.

3. The depositions of Robert L. Cerna, Evan C. Katz, Michael G. Kozak, and Joseph N.
Mazzara, which were previously noticed, shall be completed no later than Friday,

May 9, 2025.
4. By no later than Wednesday, May 7, 2025, Plaintiffs may move for leave of Court to
conduct up to two additional depositions of individuals with knowledge and authority
to testify regarding the matters identified at ECF No. 79. Defendants shall respond by
Thursday, May 8, 2025.

5. At the conclusion of expedited discovery but by no later than Monday, May 12,
2025, Plaintiffs shall supplement their Motion for Other Relief (ECF No. 62).

Defendants shall respond by no later than Wednesday, May 14, 2025.

So ORDERED.

April 30, 2025 G ~

Date Paula Xinis ro
United States District Judge

